UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Rahul Manchanda,

Plaintiff, COMPLAINT

-against-
Index No.:

Internal Revenue Service (“IRS”),
T Fahman, Erica Farrell, Susan
McNamara, Current and Former
Employees of IRS Jane Does 1-10,

Defendants.

Plaintiff, Rahul Manchanda, for its Complaint against Defendants

alleges:

INTRODUCTION

1. Plaintiff brings this action under the Federal Tort Claims Act
(“FTCA”) per 28 U.S.C. §§ 2671-2680 and for gross violations of
IRS Codes per 26 U.S.C. §§ 7433, 7432, 7431, and 7213 with
their coordinated misconduct, unauthorized disclosure to
countless individuals over nearly 15 years such as Plaintiff’s
political enemies, business competitors, exes, private
investigators, fired/terminated/never retained/suspended CPAs
and Accountants, tortious and illegal collections activity,
deception, abuse of office, gangstalking, extortion, blackmail,
harassment, aggravated harassment, discrimination, threats,

intimidation, malice, arbitrary and capriciousness, sloppiness,
dishonesty, trickery, manipulation, lack of professionalism,
losing documents, purposefully mailing correspondence to wrong
addresses or not at all in order to get them delayed or lost,
misconduct, abuse, waste, fraud, personal injury, property
damage, and other malicious actions and torts in the

administration of Plaintiff’s taxes for nearly 15 years.

2. Plaintiff also seeks to obtain permanent injunctive relief,
restitution, refunds, actual and punitive damages, civil money
penalties, and other relief for Defendants’ violations of
federal tort and taxation laws and corresponding New York State
laws governing the illegal, unlawful, deceptive, dishonest,
unfair, fraudulent, and incompetent behavior of the Internal

Revenue Service and its employees/agents.

JURISDICTION AND VENUE

 

3. This Court has subject-matter jurisdiction over this action
because it presents a federal question under 28 U.S.C. § 1331
and the Defendant is a U.S. Government agency per 28 U.S.C. §

1391 (e);

4, Venue is proper in this district because Plaintiff and
Defendants are located, reside, and/or do business in this

district, and/or a substantial part of the events or omissions
giving rise to the claims occurred in this district. 28 U.S.C.

§ 1391 (b);

PLAINTIFF

5. Plaintiff, at all times relevant hereto, has a business office
located at 30 Wall Street, 8 Floor, New York, NY 10005, anda
home address of 1 Columbus Place, New York NY 10019;

DEFENDANTS

6. Defendants predominantly reside and work in New York City and
State, Washington D.C., and all throughout the USA;

BACKGROUND

7. This complaint concerns the illegal, unlawful, deceptive,
dishonest, unfair, fraudulent, coercive, manipulative, abusive,
unethical, illegal, immoral, deceptive, disingenuous,
extortionate, harassing, and incompetent practices of the
Internal Revenue Service and its employees/agents;

8. Defendants have consistently, over the past more nearly 15

years, with regards to his duly filed and nearly annual Offers
in Compromise (“OIC”) to consolidate his aggregated tax
liability since approximately 2008 after the economic crash
leading to his personal and business’ bankruptcies from

approximately 2011-2014, when his law firm company went from
approximately 20 employees to 1, while going through severe
divorce, child custody and child support battles in NY Family
Court with his ex-wife during those years, and even though he
has duly filed his tax returns every year, have unreasonably
denied, rejected, delayed, obstructed, harassed, insulted,
humiliated, engaged in deceit and trickery, unauthorized
disclosure to countless individuals over nearly 15 years such
as Plaintiff’s political enemies, business competitors, exes,
private investigators, fired/terminated/never
retained/suspended CPAs and Accountants, maliciousness, sloth,
physically lost his filings sometimes asking Plaintiff or his
CPA after losing them, mailed notices to the wrong addresses in
order to get them lost or not at all, arbitrarily changing
their document demands and requirements, year after year, thus
immorally, unethically, illegally and unreasonably increasing
his total tax liability with fees and penalties, when all
undersigned has always wanted to do was both settle and pay his

owed tax liabilities;

All the while undersigned Plaintiff has had his credit ruined
with near-permanent levies and tax liens by Defendants, and his
physical and emotional stress compounded, thus causing personal
injuries such as a heart attack and clinical anxiety because

Defendants have been cruelly and incompetently torturing
10.

11.

12.

undersigned with this governmental abuse under the color of law

and authority;

Undersigned has finally had enough and has filed several
official complaints with the U.S. Department of the Treasury
Civil Rights Division, the U.S. Treasury Inspector General for
Tax Administration, and other agencies, and spoke with several
IRS Special Agents who all appeared to agree with Plaintiff at
how badly he has been treated by Defendants for nearly 15

years;

Undersigned has received several confirmations that his
complaints are now duly being investigated, but still the IRS
has not even sent undersigned Plaintiff a billing invoice for
his total tax liability in years, since they last denied his
last OIC, thus further compounding undersigned Plaintiff and
his family’s physical and emotional stress and total tax

liability;

Recently Plaintiff sued the IRS along with the NYS and NYC
Department of Taxation and Finance in New York Supreme Court
Docket No 150320/2019, and won and settled with NYS and NYC
because his evidence and case was so strong, but the IRS
dishonestly escaped and purposefully evaded liability purely on

jurisdictional grounds, as New York Supreme Court Judge Kalish
13.

indicated that the IRS must be sued in federal court, even
though they were duly served at great cost and expense to
Plaintiff countless times over periods of months, hence the

federal lawsuit herein.

As was stated above undersigned has been irreparably damaged by
the sloth, dishonesty, incompetence, obstruction, harassment,
delays, abuse, targeting, discrimination, and poor behavior of

defendants as recently as this year 2020.

AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT

14.

15.

Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 13 of this Complaint.

Therefore Plaintiff herein sues for actual and punitive damages
of $100,000,000 for unauthorized collection because if an IRS
employee or taxation officer recklessly, intentionally, or
negligently disregards the law or IRS regulations when taking
a collection action, one can sue for actual economic damages
that result, as well as costs for the action (Code Sec. 7433),
wherein actual potential recovery is capped at $100,000 for
damages for negligence and $1 million for damages for reckless

or intentional misconduct, plus punitive damages;

AS AND FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANT
16.

17.

Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 13 of this Complaint.

Plaintiff also sues for actual and punitive damages of
$100,000,000 for intentional and negligent infliction of
emotional and physical distress for the severe abuse that he
has endured for more than 10 years as described herein, backed
up by medical evidence including but not limited to a heart

attack and clinical anxiety;

AS AND FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANT

 

18.

19.

Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 13 of this Complaint.

To that end Plaintiff also sues the Defendants hereon for
$100,000,000 in actual and punitive damages for failure to
release a tax lien or levy unreasonably, and as in the case of
unauthorized collection activities, similar action can be taken
if the IRS improperly fails to release a lien on your property
(Code Sec. 7432), herein suing for actual economic damages,
plus the costs of the action, and the same caps applicable to

unauthorized collection activities apply here;

AS AND FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANT

 
20.

21.

Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 13 of this Complaint;

Plaintiff also herein sues for actual and punitive damages of
$100,000, 000 for the unauthorized disclosure of tax
information, wherein IRS employees are barred from unauthorized
disclosures of taxpayer information, and if they do _ so
negligently or knowingly, a taxpayer can bring an action for
civil damages (Code Sec. 7431), wherein actual damages are
limited to the greater of $1,000 for each act of unauthorized
disclosure, or the sum of actual damages sustained as a result
of the disclosure and punitive damages in cases of willful or
grossly negligent disclosure - the recovery can also include
costs of the legal action and punitive damages, furthermore

punishable under 26 U.S. Code § 7213.

AS AND FOR A FIFTH CAUSE OF ACTION AGAINST DEFENDANT

 

22.

23.

Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 13 of this Complaint;

In the recent past the IRS have willfully flouted the statutory
Bankruptcy Stay Protections afforded to undersigned Plaintiff,
making it necessary to file Motions for Contempt against these
entities for not respecting the Automatic Stays in effect

during those times, and this herein described misconduct is
another mere extension of this type of political targeting
under IRC 7433, abuse, and harassment characteristic of the
Assistant U.S. Attorneys and Assistant Attorneys General
previously assigned to handling those contempt motions and
cases, so to that end Plaintiff sues for $100,000,000 in actual

and punitive damages as a result;

AS AND FOR A SIXTH CAUSE OF ACTION AGAINST DEFENDANT

 

24.

25.

(1)

Plaintiff repeats and realleges each and every allegation

contained in paragraphs 1 through 13 of this Complaint;

To that end Plaintiff hereby also sues Defendants for serious
and severe violations of the Federal Tort Claims Act (“FTCA”)
for property damages and/or personal injury against the United
States per 28 U.S.C. §§ 2671-2680, in actual and punitive

damages of $100,000,000;

WHEREFORE, Plaintiff requests:

a permanent injunction against Defendants, their aides and

assigns, from further abusing, harassing, obstructing, torturing,

targeting, losing documents and files, leaking, unauthorized

disclosure, illegal collecting practices, discriminating against,

delaying, rejecting, using, or aiding another to leak or use, such

illegally obtained information, and
(2) $600,000,000 in total actual and punitive damages stemming from
Defendants gross violations of IRS 26 U.S. Codes §§ 7433, 7432, 7431,
7213 and the FTCA with their coordinated behavior, gangstalking,
extortion, blackmail, harassment, aggravated harassment,
discrimination, threats, intimidation, malice, arbitrary and
capriciousness, sloppiness, dishonesty, trickery, manipulation, lack
of professionalism, misconduct, abuse, waste, fraud, and other

actions and torts;

(3) such other and further relief as the Court deems just and proper,
including applicable interest and the costs and disbursements of this
action.

Zt lee

Dated: New York, NY
December 19, 2020

 

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